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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

   UNITED STATES OF AMERICA                         §
                                                    §
                                                    § CASE NUMBER 6:15-CR-00025-JDK
   v.                                               §
                                                    §
                                                    §
   NICOLAS BARAJAS (20)                             §
                                                    §


               ORDER ADOPTING REPORT AND RECOMMENDATION OF
                      UNITED STATES MAGISTRATE JUDGE

         The above entitled and numbered criminal action was referred to United States Magistrate

  Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate Judge John D.

  Love, which contains his proposed findings of fact and recommendations for the disposition of

  such action, has been presented for consideration. The parties have waived their objections to the

  Report and Recommendation.

         The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

  correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

  the findings and conclusions of this Court and ORDERS that Defendant Nicolas Barajas be

  sentenced to a term of imprisonment of 7 months with no supervised release to follow. The Court

  further RECOMMENDS that Defendant serve his sentence at FCI Beaumont, if available.

          So ORDERED and SIGNED this 5th            day of November, 2020.



                                                   ___________________________________
                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE
